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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 SHIRLEY A. CARPIN, as Executor of             )
 the Estate of SHIRLEY A. HILSTER,             )
 deceased, and CHARLES W. HILSTER,             )
 JR., Individually,                            ) Civil Action No: 2:20-CV-1537-MJH
                                               )
                         Plaintiffs,           )
        vs.                                    )
                                               )
 AIR & LIQUID SYSTEMS                          )
 CORPORATION, individually and as              )
 successor-in-interest to Buffalo Pumps, Inc., )
 et al.                                        )
                                               )
                                               )
                         Defendants.           )

             NOTICE OF SETTLEMENT AND STIPULATION OF DISMISSAL

       Plaintiffs, Shirley Carpin and Charles Hislter by and through their undersigned counsel,

Caroselli Beachler & Coleman, LLC and Dean Omar Branham Shirley LLP, hereby notify the Court

that Plaintiffs have settled their claims with MidAmerican Energy Company and that Plaintiffs hereby

stipulate to MidAmerican Energy Company’s dismissal.

                                            SO STIPULATED

                                            Respectfully submitted,


                                            CAROSELLI BEACHLER & COLEMAN, LLC

                                            By:     /s/ Craig E. Coleman
                                                    Craig E. Coleman, Esquire
                                                    P.A. I.D.: 39391
                                                    20 Stanwix Street, 7th Floor
                                                    Pittsburgh, PA 15222
                                                    Attorneys for Plaintiffs

                                            DEAN OMAR BRANHAM SHIRLEY, LLP
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       “AND NOW this 7th day of June 2022, it is hereby ORDERED that MidAmerican Energy

Company is dismissed from this matter with prejudice.”




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